Petition for Writ of Mandamus Denied and Memorandum Majority and
Dissenting Opinions filed August 15, 2024.




                                      In The

                    Fourteenth Court of Appeals

                                NO. 14-24-00445-CR



                    IN RE DARRELL WILLIAMS, Relator


                          ORIGINAL PROCEEDING
                            WRIT OF MANDAMUS
                               174th District Court
                              Harris County, Texas
                         Trial Court Cause No. 1491754

                  MEMORANDUM DISSENTING OPINION

      The idea that an incarcerated person can get this court to issue a writ of
mandamus to compel a trial judge to rule on a motion in a criminal proceeding is
akin to the Myth of Sisyphus. See generally In re Williams, 672 S.W.3d 683, 683–
84 (Tex. App.—Houston [14th Dist.] 2023, orig. proceeding) (Spain, J.,
dissenting). But maybe I’m wrong and one day this court will. I certainly hope so.
      In this original proceeding, the majority specifically denies the petition for a
writ of mandamus because of a procedural defect: “Relator is not entitled to
mandamus relief because he has not provided this court with any mandamus
record.” I would give relator notice and an opportunity to cure, and if relator does
not cure the procedural defect, then I would dismiss for want of prosecution. That
only seems fundamentally fair.
      If relator were to cure the procedural defect, then the majority might return
to its heads-I-win-tails-you-lose position requiring something that relator cannot
do, get a day pass from the Texas Department of Criminal Justice’s Charles T.
Terrell Unit, go to the trial court, and present his motion to the presiding judge for
a ruling. Alternately, if it’s true that relator has filed a motion in the trial court by
mail, then the presiding judge could just do their job and rule on it. There is so
much stubborn hope in the human heart.
      But for today, I dissent to the court’s failure to give relator notice and an
opportunity to cure.



                                         /s/       Charles A. Spain
                                                   Justice


Panel consists of Chief Justice Christopher and Justices Jewell and Spain (Spain,
J., dissenting).

Do Not Publish — Tex. R. App. P. 47.2(b).




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